                          UNITED STATES BANKRUPTCY COURT                  SF13210 (rev 02/2017)
                                Southern District of Indiana
                                 46 E. Ohio St., Rm. 116
                                  Indianapolis, IN 46204
In re:

Teresa Lynn Buck,                                     Case No. 18−00959−RLM−13
SSN: xxx−xx−4571         EIN: NA
   2426 N 700 E
   Franklin, IN 46131
Michael Lee Buck,
SSN: xxx−xx−0595         EIN: NA
   2426 N 700 E
   Franklin, IN 46131
              Debtors.

                         NOTICE OF FILING OF CHAPTER 13 PLAN

A Chapter 13 Plan was filed on February 23, 2018, by Debtor Teresa Lynn Buck and
Joint Debtor Michael Lee Buck. A copy of this document is attached.

NOTICE IS GIVEN that any objection to the Chapter 13 Plan must be filed with the Court
at least 3 days prior to the 341 meeting date or by March 26, 2018, whichever is later.
Objections must comply with S.D.Ind. B−9013−1(d) and must be served on the attorney
for the debtors and the chapter 13 trustee.

If no objections are filed, the Court may confirm the plan without conducting an actual
hearing. Unresolved objections will be scheduled for hearing by the Court at a later date.

Dated: February 26, 2018                     Kevin P. Dempsey
                                             Clerk, U.S. Bankruptcy Court
